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 5
 6   Attorney for Defendant
     JOSE SERGIO ESPINDOLA
 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )                   CASE NO. 2:09-cr-00380 WBS
                                      )
12                    Plaintiff       )
                                      )                   STIPULATION AND [PROPOSED]
13              vs.                   )                   ORDER CONTINUING
                                      )                   STATUS CONFERENCE
14                                    )
     URIEL OCHOA-ESPINDOLA,           )
15                                    )
                      Defendant.      )
16   ________________________________ )
17
18          The United States, through its undersigned counsel, and the defendants, through their
19   undersigned counsel, hereby agree and stipulate that the status conference, which is currently
20   scheduled for March 5, 2012 at 09:30 AM in Courtroom 5 should be vacated and continued to
21   April 9, 2012 at 9:30 a.m. for defendants Jose Sergio Espindola and Uriel Ochoa-Espindola; and
22   March 12, 2012 at 9:30 a.m. for defendant Valentin Ramirez-Cardinez for a change of plea.
23          All counsel agree that time should be excluded under the Speedy Trial Act from the date
24   this stipulation is lodged through April 9, 2012.
25          The parties stipulate and agree that the continuance requested herein is necessary to
26   provide defense counsel reasonable time to prepare their respective clients’ defenses and taking
27   into account due diligence, the parties agree that the interests of justice in granting this
28   reasonable request for a continuance outweigh the best interests of the public and defendants for


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 1   a speedy trial in this case, pursuant to Title 18 USC § 3161(H)(7)(B)(iv) and Local Code T4.
 2   Dated: March 2, 2012                                 /s/ Michael Beckwith
                                                        MICHAEL BECKWITH
 3                                                      Assistant U.S. Attorney
 4
     Dated: March 2, 2012                                 /s/ Jeffrey Rosenblum
 5                                                      JEFFREY ROSENBLUM
                                                        Attorney for Jose Sergio Espindola
 6
     Dated: March 2, 2012                                /s/ Preciliano Martinez
 7                                                      PRECILIANO MARTINEZ
                                                        Attorney for Uriel Ochoa-Espindola
 8
     Dated: March 2, 2012                                /s/ Robert L. Forkner
 9                                                      ROBERT L. FORKNER
                                                        Attorney for Valentin Ramirez-Cardinez
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 1                                           ORDER
 2         IT IS HEREBY ORDERED that status conference currently scheduled for March 5,
 3   2012 at 9:30 a.m. be VACATED, and the matter continued until March 12, 2012 and April
 4   9, 2012 at 9:30 a.m. Time is excluded under the Speedy Trial Act from March 5, 2012
 5   through April 9, 2012 pursuant to Local Code T4.
 6
     Dated: March 2, 2012
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